                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )
                                                    )      Case No. 11-05044-01-CR-SW-RED
vs.                                                 )
                                                    )
TODD C. SMITH                                       )
                                                    )
                         Defendant.                 )
                                                    )

                        GOVERNMENT’S LIST OF TRIAL WITNESSES

        The United States of America, by the United States Attorney for the Western District of
Missouri, and James J. Kelleher, Assistant United States Attorney, in compliance with the
Federal Rules of Criminal Procedure, provides the following list of witnesses, by name and
address, whom the undersigned attorney for the government may call in the presentation of its
case-in-chief, as follows:

      1.    Ed Bailey
           Jasper County Sheriff’s Department
           2907 County Road 180
           Carthage, Missouri

      2. Mike Shuster
         Jasper County Sheriff’s Department
         2907 County Road 180
         Carthage, Missouri

      3. Roy Masters
         Jasper County Sheriff’s Department
         2907 County Road 180
         Carthage, Missouri

      4. Tim Williams
         Jasper County Sheriff’s Department




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     2907 County Road 180
     Carthage, Missouri

5. L.M.

6. A.M.

7. M.T.

8.    Larry Roller
     Joplin Police Department
     303 East 3rd Street
     Joplin, Missouri

9. Jim Brelsford or other custodian of records
   SanDisk Corp.
   601 McCarthy Boulevard
   Milpitas, California

10. Custodian of Records
    HTC America
    13920 SE Eastgate Way
    Suite 200
    Bellevue, Washington

                                                 Respectfully submitted,

                                                 David Ketchmark
                                                 Acting United States Attorney

                                        By       /s/ James J. Kelleher
                                                 James J. Kelleher
                                                 Assistant United States Attorney




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on August 7,

2012, to the CM-ECF system of the United States District Court for the Western District of

Missouri for electronic delivery to all counsel of record.


                                                      /s/ James J. Kelleher
                                                      James J. Kelleher
                                                      Assistant United States Attorney




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